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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     C.M.E. O/B/O W.P.B.,
 7
                                Plaintiff,                 CASE NO. 2:19-cv-02019-RAJ-BAT
 8
             v.                                            ORDER DENYING MOTION FOR
 9                                                         RECONSIDERATION
     SHORELINE SCHOOL DISTRICT,
10
                                Defendant.
11

12          Before the Court is Plaintiff’s motion for reconsideration. Dkt. 43. Plaintiff asks the

13   Court to reconsider its Order, which re-noted Plaintiff’s motion for summary judgment. Dkt. 42.

14   The motion is denied.

15                                             DISCUSSION

16          Motions for reconsideration are disfavored and the court will ordinarily deny such

17   motions in the absence of a showing of manifest error in the prior ruling or a showing of new

18   facts or legal authority which could not have been brought to its attention earlier with reasonable

19   diligence. See Local Rule CR 7(h)(1). Plaintiff does not present any new facts or legal authority

20   and makes no showing of manifest error in the Court’s ruling.

21          Plaintiff argues that by re-noting her motion, the Court has changed the “purpose and

22   intent” of her motion and “re-classif[ied] [her] motion for summary judgment on a new material

23   fact as the Plaintiff’s ‘Opposition Case Brief.’” Dkt. 43. Plaintiff appears most concerned that the

     Court will not consider whether “the new material fact that was omitted from the original case in

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 1   the administrative record is the material issue of the case.” Id., p. 4.

 2           Plaintiff’s motion was not recharacterized but was simply re-noted for October 9, 2020,

 3   so that the Court may consider all material issues raised in this administrative appeal at the same

 4   time. Additionally, Plaintiff has not been deprived of an opportunity to file an “Opposition Case

 5   Brief.” Based on the Court’s briefing schedule (Dkt. 18), Plaintiff may do so by October 5, 2020.

 6           Accordingly, Plaintiff’s motion for reconsideration (Dkt. 43) is denied because she has

 7   failed to establish that the Court committed a manifest error of law or fact.

 8           DATED this 24th day of September, 2020.

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                                                             BRIAN A. TSUCHIDA
11                                                           Chief United States Magistrate Judge

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     ORDER DENYING MOTION FOR
     RECONSIDERATION - 2
